Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 1 of 79

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MATTHEW BOROWSKI

Plaintiff, 23-CV-257
v.

U.S. CUSTOMS AND BORDER PROTECTION

Defendant.

CERTIFICATION OF AMENDED ADMINISTRATIVE RECORD

I, Michael J. Millich, am the Director of the Trusted Traveler Programs Office,
Admissibility and Passenger Programs, Office of Field Operations, U.S. Customs and
Border Protection (“CBP”), U.S. Department of Homeland Security. In my role as
Director, I am responsible for overseeing CBP’s Trusted Traveler Programs.

Attached to this Certification is the Amended Administrative Record relating to Plaintiffs
Administrative Procedure Act claim in the above-captioned matter, and related Table of
Contents. Redactions have been applied within the attached Amended Administrative
Record to information which is protected. by the deliberative process privilege, information
consisting of law enforcement sensitive techniques and procedures, and the personally
identifiable information of both CBP personnel and third parties.

I certify that, to the best of my knowledge, information, and belief, the documents identified
in the table of contents and filed herewith constitute the entire Administrative Record
containing the information considered by CBP when deciding whether to approve or deny
Plaintiffs NEXUS applications filed with CBP on May 26, 2022, and December 20, 2022. I
further certify that these records were prepared by CBP personnel in the ordinary course of
business, at or near the time that the acts, conditions, or events described in the records
occurred.

Dated: July 17, 2024

bth 4 Ytitlivt
Michael J. Mijtich
Director

CBP Trusted Traveler Programs

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MATTHEW BOROWSKI

Plaintiff,
v.

U.S. CUSTOMS AND BORDER PROTECTION

Defendant.

23-CV-257

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1 CBP 001 CBP Reconsideration Decision Letter, addressed to
Plaintiff, dated April 12, 2023
2 CBP 002 — Plaintiff's Reconsideration Request submitted
CBP 004 December 20, 2022, and Reconsideration Request
Decision dated April 12, 2023
3 CBP 005 — Inspection Records relating to Plaintiff's April 5,
CBP 011 2023 Border Inspection
4 CBP 012 -— NEXUS Revocation Letter addressed to Plaintiff,
CBP 013 dated December 20, 2022
5 CBP 014 - NEXUS Disapproval Letter addressed to Plaintiff,
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6 CBP 016 - Risk Assessment Worksheet relating to CBP’s
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10 CBP 031 — Inspection Records relating to Plaintiff's November
CBP 036 3, 2014 Border Inspection
11 CBP 037 - Intra-Agency Emails from April 2014
CBP 041 '
12 CBP 042 — Inspection Records relating to Plaintiff's December
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14 CBP 049 — Inspection Records relating to Plaintiffs March 19,
CBP 056 2013 Border Inspection
15 CBP 057 Plaintiff's Signed NEXUS Briefing, dated December
28, 2011
16 CBP 058 — Spreadsheet Delineating Plaintiffs Secondary
CBP 059 Inspections from April 25, 2009, through January
16, 2024
17 CBP 060 — Plaintiffs NEXUS Application History and Global
CBP 076 Enrollment System Records

. “END SS U.S. Customs and

Border Protection
Official Trusted Traveler Program Website | Department of Homeland Security

Print

Apr 12, 2023

MATTHEW BOROWSKI

RE: Your NEXUS Program Membership +a
Dear MATTHEW BOROWSKI:
Thank you for your interest in the NEXUS program of U.S. Customs and Border Protection (CBP).

A review of your membership by the CBP Ombudsman has been completed. Based on the information you
provided, it has been determined that no change is warranted at this time. Please be mindful that being denied
from participating in the NEXUS program does not prohibit you from being able to travel.

If you do not know why you were denied, then you will need to submit a request for personal records to the
CBP/Freedom of Information Act (FOIA) Division, in accordance with federal privacy laws. For additional
information about filing a FOIA request with CBP, please visit our website: http://www.cbp.gov/site-policy-
notices/foia. Additional program information is available through the Trusted Traveler Program (TTP)
application website: https://ttp.dhs. gov.

Sincerely,

Ombudsman
U.S. Customs and Border Protection

CBP 001
1

a 1:23-cv-00257-EAW-MJR Document 45 ali! O7(18/24 Page 5 of 79

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Ney U.S. Customs and TRUSTED TRAVELER
x 3 J) Border Protection PROGRAMS

Home
(/home)

Reconsideration Request
Request Information

a
a

Reconsideration Request ID: 91511

Date Submitted: 12/20/2022

Name: Matthew Borowski
Date of Birth:

Program: NEXUS

Membership Number/PASSID: (oo

Email Sea

Reason for Reconsideration

| have been a member of NEXUS for ten years and have never violated any regulations. | am an attorney licensed in both the
U.S. and Canada. The only thing that | can thing of might be that the application erroneously did not store my drivers license
information, which {s (ene Issued by Ontarlo and expiring 20251101. 1 am an attorney licensed In NY and
Ontario and cross border daily for work. | want to know why | was denied.

Attached Files

Filename File Size Date/Time

No attachments were submitted with the request.

Recommendation Sustained Denial/Revocation
Recommended by: i

Date of Recommendation: 04/12/2023 01:35 PM
Justification: Supervisory Ombudsman: Sustained denial revocation

based on the totality of noncompliance with the inspection
process on numerous occasions. Applicant has 6 positive
relevant [K3 in 2013, 1 in 2014, 1 in 2016, and the
latest in 2023) from inspections where the applicant's
behavior is confrontational and/or his actions interfere
with the inspection process, Applicant was previously

CBP 002

1/3

—— Case 1:23-cv-00257-EAW-MJR Document 45 F§ iled 07/18/24 Page 6 of 79

econsiderauon meques

revoked for noncompliance in 2013 and Ombudsman
granted discretion in April 2014 and gave applicant another
opportunity for TTP enrollment, but specifically stated to
the Enrollment Center to please warn applicant against
future noncompliance during both outbound or inbound
inspections. Applicant likely should have been revoked for
repeat noncompliance as noted in November 2014 for
May 2016 fl Applicant has numerous crossings and 53
total secondary inspections. Applicant's April 2023 ZZ
details alone are enough to warrant a sustained denial
revocation based on statements of intended
noncompliance the applicant made to the Watch
Commander after the secondary inspection was complete.
Port and EC can remind the applicant that those who do
not qualify for Trusted Traveler Program participation are
not prohibited from entering the United States. However,
they are not permitted to use a Trusted Traveler dedicated
lane to do so. Does not warrant discretion at this time.

Final Decision Sustained Denial/Revocation
Finalized by:
Date of Decision: 04/12/2023 01:37 PM
Justification: Supervisory Ombudsman: Sustained denial revocation

based on the totality of noncompliance with the inspection
process on numerous occasions. Applicant has 6 positive
relevant i: in 2013, 1 in 2014, 1 in 2016, and the
latest in 2023) from inspections where the applicant's
behavior is confrontational and/or his actions interfere
with the inspection process. Applicant was previously
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not prohibited from entering the United States. However,
they are not permitted to use a Trusted Traveler dedicated
Jane to do so. Does not warrant discretion at this time.

CBP 003

2/3

Comments

Date/Time Comments

No comments have been added to this Reconsideration Request.

DHS. gov (https://www.dhs.gov/)
CBPgov (https://www.cbp.gov/)

CBP 004

nt 4

Added by

3 iled 07/18/24 Page 7 of 79
eration Request

a Case 1:23-cv-00257-EAW-MJR Dogument 4:

Return to Manage Requests

3/3

BOROWSK, MATTHEW KARIM SS [i

04/05/2023 13:11:00 EDT

Subject

Last Name:
First Name:
Birth Date:

Hispanic:
Gender:

Citizenship:
Document Type:
Document ID:

Travel Details

Inbound / Outbound:
Location:

Site:

Port Name:

MOT:
Conveyance Type:

License Plate:
License State:
License Year:
License Country:

Incident Details

Incident Type:

TECS ID:
Incident Date:

Report Approved:
Report Approved Date:
Report Completed:
Report Completed Date:
Report Cancelled:

Comments

BOROWSKI
MATTHEW KARIM

No
Male (M)

United States (US/USA)
PASSPORT (P)

Inbound

BUFFALO-NIAGARA FALLS
CBP-BUFFALO, PEACE BRIDGE (L094)
BUFFALO-NIAGARA FALLS (0901)

LAND
AUTO (A)

BZPN616
-ONTARTO (ON),

23
Canada (CA/CAN)

84/65/2623

Yes
64/11/2823 98:80:06 EDT
Yes
84/05/2823 60:06:00 EDT
No

Primary Officer:
Supervisor:

On Wednesday, April 5, 2023, at approximately 1157 hours, subject Matthew
Karim BOROWSKI (DOB: as COC: USA) was encountered in lane seven at
the Peace Bridge Port of Entry, Buffalo, New York.

During the primary examination, the subject indicated to the Primary Officer
that his citizenship was irrelevant. Furthermore, the subject indicated that
he would only state that he has nothing to declare. At that time, the
Primary Officer called for an escort.

Responding officers requested that the subject step out of the vehicle, and
attempted to clarify if he possessed any weapons on his person or in the
vehicle. The subject replied by stating what is a weapon? At that time, the
subject was escorted into the CBP Secondary Administrative Building for
further examination. During the escort, the subject expressed that he does
not want anyone to touch or move his vehicle. Once in secondary, the subject
was placed in the medium-secondary area until his vehicle could be searched
for contraband, merchandise, or weapons.

The subject's vehicle was cleared from the primary lane in order to process
other travelers. The vehicle was driven to the secondary parking lot by a
CBP Officer and was witnessed by the on-duty Supervisory CBP Officer.

ME o<onination of the vehicle conducted by two CBP Officers and
witnesse ; the a a CBP Officer a

Upon conclusion of the examination, the subject was removed from
the medium-secondary lobby and placed in the general lobby. The subject's
passport and vehicle keys were returned to him. At approximately 1215 hours,
the subject was advised that CBP's secondary examination was completed, and
he was clear to leave. BOROWSKI requested to speak to the Watch Commander.

The on-duty Supervisor immediately contacted the on-duty Watch Commander
regarding the subject's request. At that time, \C LIM responded to
secondary and spoke with the subject_regarding his concerns, as well as CBP
procedures. After speaking with WC EE the subject departed the Port of
Entry at approximately 1236 hours.

WC Notes: Mr. Borowski stated he will not answer questions he felt that a
USC does not need to answer such as Where are you going? He claims that the
officer does not need to know where in the US he is going. I spoke to Mr.
Borowski and advised him that if he does not answer the officer's questions,
he may be sent or escorted to secondary and that the officers questions
provide the officer with information to make a admit/refer decision. Mr.
Borowski stated he will not answer those questions as he is not bound by the
NEXUS program as his card was revoked. He stated he inquired with a FOIA
request and as SCBPOMMERMMMM but has not received an answer as to why his card
was revoked. All officers were professional during this encounter. Mr.
Borowski requested the names of the primary officer, the officer that drove
his car and wanted to speak to Officer a «9 Supervisor). I provided
Mr. Borowski with my name and advised him that he could file a complaint or a
FOIA request regarding the inspection. Mr. Borowski departed the station
at approximately 123@ hours.

Port Location

BOROWSKI, MATTHEW KARIM

04/05/2023 11:57:48 EDT

Subject

Last Name:
First Name:
Gender:

Date of Birth:
Birth Country:
Citizenship:

Passenger Document

Document Type:

Issue Country:
Documentation Presented:
Document Number:

Crossing Information

Disposition:

Site:

Site Port:

Inbound / Outbound:
Referral Date:
Crossing TECS ID:

Package Information

Source:
Referral Status:
Referral Type:
Package ID:
Site:

Site Port:

Lane Number:
Closed By:

Referral Information

Referred By Officer:

Last Inspection Officer:
Referred By Application:
Referral Status:

Referral "

Referral Reason:

BOROWSKE
MATTHEW KARIM
Male (M)

United States (US/USA)
United States (US/USA)

PASSPORT (P)
United States (US/USA)
Yes

U.S. Citizen (USC)

CBP-BUFFALO, PEACE BRIDGE (L894)
BUFFALO-NIAGARA FALLS (8901)
Inbound

64/05/2023 11:57:48 EDT

CBP-BUFFALO, PEACE BRIDGE (L094)
BUFFALO-NIAGARA FALLS (0901)
07

Manual

subject refused to answer any basic questions, refused to get out of
the vehicle. very uncooperative.

Misc

Lost Stolen: No

Referral Item Type: ma

Vehicle Referral

Referral Date: 64/05/2023 11:57:48 EDT
Referred By Application:

Referred By Officer: a
Recall Referral:

inbound / Outbound: Inbound

Crossing Mode: VPC (V)

Crossing Quantity: 6

Device Type:

Crossing TECS ID:

Operator: Trunk

People Quantity:

Referral Item Type:
Referral Reason:

Referral Vehicle Number
Referral Comment:

1
a

subject refused to answer any basic questions, refused to get out of
the vehicle. very uncooperative.

Vehicle Inspection

Conveyance Type: AUTO (A

Referral Officer:

Referral Reason:

State: ONTARIO (ON)

Inbound / Outbound: Inbound

Inspection Result:

CCD Used:

Currency Amount: 0
Inspection Type: A
Person Quantity: 1
Update By Legacy: No

Vehicle Search 1: eee
Referral Vehicle Number:

License Plate Number: BZPN6716

State: ON BZPN616

TECS ID:

Remarks

Completed Comment

Yes On Wednesday, April 5, 2023, at approximately 1157 hours, subject Matthew Karim BOROWSKT
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by stating what is a weapon? At that time, the subject was escorted into the CBP Secondary
Administrative Building for further examination. During the escort, the subject expressed
that he does not want anyone to touch or move his vehicle. Once in secondary, the subject
was placed in the medium-secondary area until his vehicle could be searched for contraband,
merchandise, or weapons.

The subjects vehicle was cleared from the primary lane in order to process other travelers.
The vehicle was driven to the secondary parking lot by a CBP Officer and was witnessed by
the on-duty Supervisory CBP Officer.

Upon conclusion of the examination, the subject was removed from the medium-
secondary lobby and placed in the general lobby. The subjects passport and vehicle keys
were returned to him. At approximately 1215 hours, the subject was advised that CBPs
secondary examination was completed, and he was clear to leave. BOROWSKI requested to
speak to the Watch Commander.

The on-duty Supervisor immediately contacted the on-duty Watch Commander regarding the
subjects request. At that time, WC responded to secondary and spoke with the
subject regarding his concerns, as well as CBP procedures. After speaking with WC
the subject departed the Port of Entry at approximately 123@ hours.

Admissibility
Admissibility Workspace ID:
Secondary Officer Name:

Inspection Completed: Inspection Completed
CCD Used:
Create PLOR:

Disposition: U.S. Citizen (USC)

Create PLOR:

Traveler Document Presented: Yes

Western Hemisphere Travel Initiative Compliant: No

1-94 Waiver Action: N

IOEM: No

Update By Legacy: No

incident ID:

TECS ID:

Exam Completion Date: 64/05/2023 13:17:42 EDT

Remarks

Completed Comment

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subject regarding his concerns, as well as CBP procedures. After speaking with WC
the subject departed the Port of Entry at approximately 1236 hours.

Referral Reason

Referred By Referred
Application By Referral Date Referral Reason

04/05/2623
11:57:48 EDT
Baggage
inspection Completion: Inspection Completed
Inspection Result: a
Tnboun Exam Completion Date: 84/05/2023 13:15:18 EDT

Referral Officer:

Referral Reason:
Inbound / Outbound:
Secondary Officer Name:
Bag Workspace ID:
Currency Amount:

{OEM: No

Bag Exam:
CCD Used:
Create PLOR:

No Exam:
Personnel Search:

Update By Legacy:

Remarks

Completed Comment

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Upon conclusion of the EEE exenination, the subject was removed from the medium-
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subjects request. At that time, WC MMMresponded to secondary and spoke with the
subject regarding his concerns, as well as CBP procedures. After speaking with WC
the subject departed the Port of Entry at approximately 1230 hours.

Referral Reason

Referred By Referred By
Application Officer Referral Date Referral Reason

04/85/2823
11:57:48 EDT

Port Location

mmm 25° 1:23-cv-00257-ES Mr MIs fROGHNAGI ABbaib | BLADE Amel A@RA Of 79

~ U.S. Customs and
Border Protection
Official Trusted Traveler Program Website | Department of Homeland Security

y
Z.
S

Dec 20, 2022

BUFFALO ENROLLMENT CENTER
10 Central Avenue

Fort Erie, ON L2A6C6

CA

MATTHEW BOROWSKI

RE: Your NEXUS Program Membership #4

Dear MATTHEW BOROWSKI:

Thank you for your participation in the NEXUS program of U.S. Customs and Border Protection (CBP).
NEXUS is a voluntary program available to travelers that pass a comprehensive background investigation.
Applicants found to be ineligible for NEXUS participation may still be permitted to enter into the United States
although they will not be permitted to use the NEXUS dedicated lanes.

We regret to inform you that your membership in NEXUS has been revoked for the following reason(s):

You do not meet program eligibility requirements.

If you believe the decision was based upon inaccurate or incomplete information, you may be eligible to
request reconsideration through the Trusted Traveler Program application website: https://ttp.dhs.gov/.

Reconsideration Requests and attachments to the Ombudsman should be in English and must include the
following details:

1. Date of denial and denial reason(s) from this legter ,,,

ae ee 112

pummemmmmmmmmmn © OSE 23-6007 EN MN RSH USO Website | BL ANNE amet ARGoir OF 79

2. Summary of information to further clarify a record or explain an incident or arrest;

3, Court disposition documentation in PDF format for all arrests or convictions, even if expunged; and/or

4, Other supporting documentation you feel may influence the Ombudsman's decision. Supported formats:
PDF, DOCX, DOC, PNG, JPEG, and GIF.

The review by the Ombudsman will be based on the information provided by you and should include any
information to further clarify a record, explain an incident or arrest, or show the disposition of criminal charges.
Please remember that the following circumstances may make you ineligible for participation:

1..Providing false or incomplete information on the application;

2. Convictions for any criminal offense or pending criminal charges to include outstanding warrants;
3. Violations of any customs, immigration, or agriculture regulations or laws in any country;

4, Inadmissibility to the United States under immigration laws;

5. Receipt of a criminal pardon from any country; or

6. Other circumstances that indicate to CBP that you have not qualified as "low risk."

In addition to this letter, you may receive an additional letter concerning your NEXUS application from Canada
Border Services Agency.

CBP is committed to the fair, impartial and respectful treatment of all members of the trade and traveling public,
and has memorialized its commitment to nondiscrimination in existing policies, including the February 2014
CBP Policy on Nondiscrimination in Law Enforcement Activities and all other Administered Programs.

Sincerely,

Supervisor, NEXUS Enrollment Center
U.S. Customs and Border Protection

CBP 013
2/2

pegs 1:23-cv-00257- Eger My TRACHEA Heabsits IBAA mela AG@cdily of 79

U.S. Customs and

Border Protection
Official Trusted Traveler Program Website | Department of Homeland Security

Dec 20, 2022

Sterling, VA 20164
US

_ MATTHEW BOROWSKI

RE: Your NEXUS Program Membership 4
Dear MATTHEW BOROWSKI:
Thank you for your application to the NEXUS program of U.S. Customs and Border Protection (CBP).

NEXUS is a voluntary program available to travelers that pass a comprehensive background investigation,
Applicants found to be ineligible for NEXUS participation may still be permitted to enter into the United States
although they will not be permitted to use the NEXUS dedicated lanes.

We regret to inform you that your membership in NEXUS has been disapproved for the following reason(s):

Other
You do not meet program eligibility requirements.

If you believe the decision was based upon inaccurate or incomplete information, you may be eligible to
request reconsideration through the Trusted Traveler Program application website: https://ttp.dhs.gov/.

Reconsideration Requests and attachments to the Ombudsman should be in English and must include the
following details:

CBP 014

ee 112

Case 1:23-cv-00257-EAW-MJR Document 45 Elgd Oras Page 1 of 79

oe Official Trusted Traveler Program Website ment of Home ecurity

1. Date of denial and denial reason(s) from this letter

2. Summary of information to further clarify a record or explain an incident or arrest;

3. Court disposition documentation in PDF format for all arrests or convictions, even if expunged; and/or

4, Other supporting documentation you feel may influence the Ombudsman's decision. Supported formats:
PDF, DOCX, DOC, PNG, JPEG, and GIF.

The review by the Ombudsman will be based on the information provided by you and should include any
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1. Providing false or incomplete information on the application;

2. Convictions for any criminal offense or pending criminal charges to include outstanding warrants,
3. Violations of any customs, immigration, or agriculture regulations or laws in any country;

4, Inadmissibility to the United States under immigration laws,

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and has memorialized its commitment to nondiscrimination in existing policies, including the February 2014
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Sincerely,

Supervisor, NEXUS Enrollment Center
U.S. Customs and Border Protection

CBP 015
2/2

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Raw List

Traveler Menu PASSID: aS) Name: BOROWSKI, MATTHEW 7

Summary KARIM
RAW ID AIS Program Request Type Application Id

EXUS Renewal 43945325
EXUS Renewal 26838039

Risk Assessment Worksheet

Pass 1D:982419666
Program Type: NEXUS | Application ID: 43945325 | Application
Type: Renewal

Person Data

First Name: MATTHEW LastName: BOROWSKI DOB: (aa

KARIM Gender: M
Citizenship: US Birth Country: US
Findings

[| MATTHEW KARIN]

BOROWSKI| | 2022-12-12T00:00:00-05:00
2018 TTP violation/FTD AQI seized without penalty

es VAT THEW BOROWSK!| |
BOROWSKI became even more | 2022-12- °00:00-05:00

argumentative and irate about the inspection and refused to get off his
j ree times.
MATTHEW| BOROWSE IE ai)
The primary Officer then asked Mr. Borowski to| 2017-08- °00:00-04:00
pull over to the secondary inspection area where he would explain under what
authority CBP could inspect his vehicle. Mr. Borowski began to pull over and
stopped, blocking both lanes of traffic and began yelling out his window that he

wished to withdraw his ap aeation for admission.
RAAT TEI VAT IAN IANAIOISH t~—“—~S

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 20 of 79

-0B- 6'08'00-04:00  !
building until his inspection was complete. BOROWSKI stated that he wanted
to stay outside and watch the inspection. | stated to BOROWSKI that he was
unable to watch the inspection of his vehicle and to return into door 2, and he
still did not comply.

MATTHEW| Borowski
2016 NEXUS violation/uncooperative and | 2017-08- :00:00-04:00

argumentative during the inspectional process

ee VAT THEW BoROWSK |
uncooperative and confrontational when asked | 2017-08- °00:00-04:00

for the registration for the vehicle asking “for what, what is your probable cause

RISK ASSESSOR

Risk Assessor Comments (Internal): DR: Per 2013 GES comments, Subject's
Nexus card was retained and revoked after third encounter with CBP officers
requiring an. Subject has been argumentative and consistently fails to comply
with officer's direction. Subject came to the enrollment center to demand his card
be returned. Subject was confrontational and argumentative with the E.C.
supervisor and attempted to cause a disturbance in the waiting area. OMB
discretion granted in 2014. 2018 TTP
violation/FTD AQI seized without penalty

ee
2016 NEXUS violation/uncooperative and argumentative during the inspectional
(0c ii equcsted BOROWSKI to
return to the building until his inspection was complete. BOROWSKI stated that he
wanted to stay outside and watch the inspection. | stated to BOROWSKI that he

was unable to watch the inspection of his vehicle and to return into door 2, and he
still did not comply. es uncooperative and
confrontational when asked for the registration for the vehicle asking "for what,
what is your probable cause he primary
Officer then asked Mr. Borowski to pull over to the secondary inspection area
where he would explain under what authority CBP could inspect his vehicle. Mr.
Borowski began to pull over and stopped, blocking both lanes of traffic and began
yelling out his window that he wished to withdraw his application for admission.
BOROWSKI became even more
argumentative and irate about the inspection and refused to get off his cellphone
after being asked three times.
Officer Recommendation: REFER TO DIRECTOR REVIEW
Date Vetted: 2022-12-13
Vetting Officer:

Supporting Information (Internal):

DIRECTOR REVIEW

Director Comments (Internal): Concur with vetting results.
Final Decision: Denied - Risk/Totality of Circumstances

CBP 017

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 21 of 79
Date Reviewed: 2022-12-20

Director: ie

Denial Reasons/Comments (Sent to Applicant):
You do not meet program eligibility requirements.

Facility Security Query Results

2022-12-12]
2022-12-12]

Name Variants, Query Results & Questions

APPLICANT NAME VARIANTS QUERIED (x2)

BOROWSKI, MATTHEW
BOROWSKI, MATTHEW KARIM

2022-12-12| MATTHEW
KARIM] BOROWSKI
2018 TTP violation seized without penalty
re

| 2022-12-12] MATTHEW| a —

BOROWSKI became even more argumentative and irate about the inspection
and refused to get off his cellphone after being asked three times.
a 2017-08-25] MATTHEW| a i
The primary Officer then asked Mr. Borowski to pull over to the secondary
inspection area where he would explain under what authority CBP could

inspect his vehicle. Mr. Borowski began to pull over and stopped, blocking both
lanes of traffic and began yelling out his window that he wished to withdraw his

application for admission.
pe 2017-08-25] MATTHEW| EE eal

| requested BOROWSKI to return to the building until his inspection was
complete. BOROWSKI stated that he wanted to stay outside and watch the

CBP 018

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 22 of 79

inspection. | stated to BOROWSKI that he was unable to watch the inspection
of his vehicle and to return into door 2, and he still did not comply.

a 2017-08-25] MATTHEW| la ai

2016 NEXUS violation/uncooperative and argumentative during the

inspectional process
i 2017-08-25] MATTHEW| a

uncooperative and confrontational when asked for the registration for the

vehicle asking "for what, what is your probable cause
2022-12-12] MATTHEW| BOROWSKI

2017-08-25] MATTHEW KARIM|

BOROWSKI|

2022" a a
BOROWSKI
2022-12-12] MATTHEW KARIM| eoRowsK

2022-12-12| MATTHEW| BOROWSKI

M
a 2022-12-12) MATTHEW BOROWSK||
M

a 490315478] 2022-12-12] MATTHEW KARIM| BOROWSKI
M

| 2022-12-12 |

022-12-12 |
022-12-12

2022-12-12 |
2022-12-12

|
eS 2022-12-12)
iS 2:1) 1’
2022-12-12 a
| 2022-12-12|
| 2022-12-12
2022-12-12]

2022-12-12
2022-12-12|

| 2022-12-12

2022-12-12!
2022-12-12|
2022-12-12|

01

CBP 019

BOROWSK!, MATTHEW I

02/20/2019 13:31:00 EST

Subject

Last Name:
First Name:
Birth Date:

Race:
Hispanic:
Gender:

Citizenship:
Document Type:
Document ID:

Travel Details

Inbound / Outbound:
Location:

Site:

Port Name:

MOT:
Conveyance Type:

License Plate:
License State:
License Year:
License Country:

Incident Details

Incident a

TECS ID:

Incident Date:
Search Start Time:
Search End Time:

Search Type 1:

Report Approved:
Report Approved Date:
Report Completed:
Report Completed Date:
Report Cancelled:

Referring Officer Type Code:
Search Reason:

Search Reason 1:

Search Reason 2:

Performed Search:
Authorized by:
Search Witness Name:

BOROWSKE
MATTHEW

White (W)
No
Hale (M)

United States (US/USA)
NEXUS CARD (IN)

Inbound

BUFFALO-NIAGARA FALLS
CBP-BUFFALO, PEACE BRIDGE (L694)
BUFFALO-NIAGARA FALLS (8961)

LAND
AUTO (A)

CFEWS564

ONTARTO (ON)

19

Canada (CA/CAN)

62/20/2019
1286
1206

IMMEDIATE PATDOWN (T)

Yes
62/20/2819 @6:00:00 EST
Yes
62/26/2819 00:60:80 EST
No

Primary Officer:
Supervisor:

2 Hour Detention:

Comments

On 62/28/2619, at 1205 hrs. subject: BOROWSKI, Matthew, (DOB: coc:
USA) was encountered at the Peace Bridge in Buffalo, NY. CBPO
called for an escort from primary to the secondary inspection area. CBPO

responded to primary lane 8 and instructed the subject to remove
his safety belt and accompany him near the rear of the vehicle. The Subject
complied with the officer.

At 1206 hrs. capo executed an immediate pat down a
. The immediate pat down was witnessed by CBPO
. The subject was escorted by CBPO a to the secondary area
within the Field Inspection Station.

At 1207 hrs. the vehicle was driven to the secondary inspection area by CBPO
Once parked in the secondary inspection area, cBPO RE and CBPO
removed a briefcase from the vehicle and brought it in to the FIS.

At 1208 hrs, once in the secondary inspection area, CBPO ee
, switnessed by CBPO aan to ensure that the subject did not
have any weapons or narcotics in his possession. The briefcase and its
contents was searched as the subject watched. The subject asked to speak

with a supervisor in which explained to him that he would be able to as soon
as the inspection was complete.

At 1209 hrs, the subject was allowed to make a phone call, utilizing his

personal cell phone, to his office explaining to his co-workers that he would
be late.

narcotics to CBPO and CBPO

At 1216 hrs, the vehicle and its contents were searched by CBPO a
EPO AAAI ard SC=PO

At 1215 hrs, the subject was released from the secondary inspection area.

The subject provided a a: oral declaration for goods, weapons or

Port Location

BOROWSKI, MATTHEW ee

02/20/2019 12:06:10 EST

source

Subject

Last Name:
First Name:
Gender:
Race:
Hispanic:
Date of Birth:
Citizenship:

Passenger Document

Document Type:

Issue Country:
Documentation Presented:
Document Number:

Other Document Number:

Crossing Information

Site:

Site Port:

Inbound / Outbound:
Referra! Date:
Crossing TECS ID:

Package Information

Source:

Referral Status:
Referral Type:
Package ID:

Site:

Site Port:

Lane Number:
Completion Status:
Closed By:

Referral Information

Referred By Officer:

Last Inspection Officer:
Referred By Application:
Referral Status:

Referral Type:

Referral Reason:

BORQUSKE
MATTHEW
Male (M)
White (W)
No

United States (US/USA)

NEXUS CARD (IN)
United States (US/USA)

Yes

CBP-BUFFALO, PEACE BRIDGE (L094)
BUFFALO-NIAGARA FALLS (6901)
Inbound

62/20/2019 12:06:19 EST
a
CBP-BUFFALO, PEACE BRIDGE (L094)
BUFFALO-NIAGARA FALLS (8901)

08

Complete
Manual

Misc

Lost Stolen:
Referral Item Type:

Vehicle Referral

Referral Date:
Referred By Application:
Referred By Officer:
Recall Referral:
Inbound / Outbound:
Crossing Mode:
Crossing Quantity:
Device Type:
Crossing TECS ID:
GES Program:
Operator:

02/26/2819 12:06:16 EST

a a 1:

Referral Item Type:
Referral Reason:
Referral Vehicle Number:

Stacked Booth Configuration:

Referral Comment:

Vehicle Inspection

Conveyance Type:
Referral Officer:
Referral Reason:

State:

Inbound / Outbound:
Inspection Result:
CCD Used:

Currency Amount:
inspection Type:
Person Quantity:
Update By Legacy:
Vehicle Search 1:
Vehicle Search 2:
Referral Vehicle Number:
License Plate Number:
State:

Incident ID:

TECS ID:

Remarks
Completed

Yes

Baggage

Referral Officer:

Referral Reason:
Inbound / Outbound:
Secondary Officer Name:
Bag Workspace ID:
Currency Amount:

AUTO (A)

ONTARIO (ON)
Inbound

TRUNK T

Comment

Inspection Completion: Inspection Completed
inspection Result:
Exam Completion Date: 62/26/2019 13:36:27 EST
IOEM:

Inbound

Incident ID:

Bag Exam: Yes

CCD Used:

Create PLOR:

No Exam: No
Personnel Search: Yes

Receipt Number:

Update By Legacy: No

Remarks
Completed Comment
Yes a

Port Location

BOROWSKI, MATTHEW KARIM

01/03/2018 15:06:20 EST

Subject

Last Name:
First Name:
Gender:
Date of Birth:
Citizenship:

Passenger Document

Document Type:

issue Country:
Documentation Presented:
Document Number:

Crossing Information

Site:

Site Port:

Inbound / Outbound:
Departure Port Port:
Embarkation Port:
Airline:

Carrier Number:
Referral Date:

Referral Information

Referred By Officer:

Last Inspection Officer:
Referred By Application:
Referral Status:

Referral Type:

Referral Reason:

Completed:

Agriculture

Secondary Officer Name:
Agriculture Workspace ID:
Additional Passenger: No

Create PLOR: a

Remarks

BOROWSKT
MATTHEW KARIM
Male (M)

United States (US/USA)

PASSPORT (P)
United States (US/USA)
Yes

CBP-WASH DC, DULLES INTL AP (A541)
WASHINGTON (5481)

Inbound

JUAREZ INTL (MEX)

JUAREZ INTL (MEX)

UNITED AIRLINES (UA)

UA 1567

61/03/2018 15:06:20 EST

Misc

Device Type: Workstation (W)
Referral Item Type:

SEVIS: No

banana

Manual

Inspection Completion: Inspection Completed
Exam Completion Date: 61/03/2018 15:30:54 EST

No Exam:
Personnel Search:
TECS ID:

X-Ray:

Update By Legacy: No

Completed Comment

Port Location

BOROWSKI, MATTHEW KARIM [ees

01/03/2018 15:12:33 EST

Subject

Last Name: BOROWSKI

First Name: MATTHEW KARIM

Gender: Male (M)

Hispanic: No

Date of Birth:

Citizenship: United States (US/USA)

Passenger Document

Document Type: PASSPORT (P)

issue Country: United States (US/USA)
Documentation Presented: Yes

Document Number: 498789986

Crossing Information

Site: CBP-WASH DC, DULLES INTL AP (A541)
Site Port: WASHINGTON (5461)

Inbound / Outbound: Inbound

Airline: UNITED AIRLINES (UA)

Carrier Number: UA 1567

Referral Date: 61/03/2018 15:12:33 EST

Referral Information Misc

Referred By Officer: Lost Stolen:

Last inspection Officer: Referral Item Type:
Referred By Application:

Referral Status:

Referral a

Referral Reason:

Completed: Manual

Agriculture

Referral Officer:

Referral Reason:

Inbound / Outbound: Inbound

Additional Passenger:
Agriculture Permit Presented:
Agricultural Quarantine Inspection Monitoring Exam: No

Secondary Officer Name:

Agriculture Workspace ID:
No
No

Bag Exam: Yes
Bags Examined: 1
Bag Xray: No

Bags X-Rayed: 1

No

Cites Violation Incident:

CCD Used: Zz
No
a

Create PLOR:

Civil Penalty Issued: No
Departure Port Port: JUAREZ INTL (MEX)
Embarkation Port: JUAREZ INTL (MEX)
Flight Vessel Crew: No

Form 6059B: No

Inspection Category:

Inspection Completion: Inspection Completed
Exam Completion Date: 61/63/2018 15:18:29 EST
Inspection Result:

Canine Search: No
import Certificate Reviewed: No
incident ID Required: No
No Exam: No
Oral Declaration: No
Prior Civil Penalty: No
Prior Positive Exam: No
Personnel Search: No

Passengers on Declaration: 2

TECS ID:

X-Ray: No

Update By Legacy: No
Remarks

Completed Comment

Yes passenger global entry failed to declare banana states that he always brings bananas in the
country and they let him enter them without declaring it in global entry receipt

also lied stating that is the first time that he uses global entry when he comes and goes
into Canada and us all the time.

Item Inspection

Agen Other Alrway Bill / Liv Pest

cy Agency = Entry ID Amount Commodity Type e Located Regulatory Action
Q.1 Plant Product - Fruits and Abandoned/Seized and

Vegetables Destroyed

(Pieces/Each
)

Violation

Violation

AGRICULTURE WITHOUT ISSUANCE OF CIVIL PENALTY (AG)

Port Location

BOROWSK!, MATTHEW K [i

05/22/2016 15:50:00 EDT

Subject

Last Name:
First Name:
Middle Name:
Birth Date:

Race:

Hispanic:
Gender:

Hair:

Eye:

Height:

Weight:
Citizenship:
Document Type:
Document ID:

Addresses

Street Name:
City:

State:

Zip:

ISO Country:

Incident Details

Incident Type:

TECS ID:
Incident Date:

Report Approved:
Report Approved Date:
Report Completed:
Report Completed Date:
Report Cancelled:

Comments

BOROWSKT
MATTHEW
K

White (W)
No

Male (M)
BROWN (BR)
BROWN (BR)
602

268

United States (US/USA)
NEXUS CARD (IN)

Travel Details

inbound / Outbound:
Location:

Site:

Port Name:

MOT:
Conveyance Type:

Canada (CA/CAN)

License Plate:
License State:
License Year:
License Country:

05/22/2016.

Yes
65/22/2016 60:00:06 EDT
Yes
65/22/2016 06:80:00 EDT
No

Primary Officer:
Supervisor:

Inbound

BUFFALO-NIAGARA FALLS
CBP-BUFFALO, PEACE BRIDGE (L@94)
BUFFALO-NIAGARA FALLS (0901)

LAND

AUTO (A)
BNYL678
ONTARIO (ON)
16

Canada (CA/CAN)

On Sunday May 22, 2016, CBPO GE conducting primary inspections in Auto

Lane 7 at the Peace Bridge in Buffalo, NY. At 155@hrs, CBPO

encountered a vehicle bearing Ontario License Plate # BNYL678 driven by
BOROWSKI, Matthew (DOB: + COC/COB; USA, NEXUS PASS ID:
was accompanied by his chi

and his wife DOB: .
COC/COB: USA: NEXUS PASS ID: MM. Mr. Borowski presented Nexus Cards
as identification for all four passengers.

cCBPO EMM asked Mr. Borowski his citizenship, he replied, “We are all
United States citizens”. CBPO then attempted to obtain a binding
verbal declaration of citizenship from a by looking directly at
her and asking her citizenship. Mr. Borowski raised his voice and quickly
responded, “We are all U.S. citizens". CBPO QM advised Mr. Borowski each
adult in the vehicle needs to give their own verbal declaration of
Citizenship. Mr Borowski raised his voice and argued that he could speak for
everyone. He stated, “Yes I can, I'm an Immigration lawyer and I can answer
for her".

Once again CBPO RRM asked her what her oi ene was and Mr. Borowski

tried to answer for her again, but this time answered, "U.S.".

After obtaining a verbal declaration of citizenship from both adults in the

vehicle, the inspection continued in regards to the purpose of their travel,

and if the subjects had anything to declare in terms of goods coming into the

U.S... Each time CBPO Masked a question, Mr Borowski reminded CBPO
that he was an Immigration lawyer.

Mr. Borowski was visible aggravated and stated that since they were NEXUS
card holders, they didn't need to answer a lot of questions. CBPO

advised Mr. Borowski that every traveler crossing the border was subject to
inspection. Mr. Borowski became visibly irate and told the CBPO that he
should "Go inside and ask a Supervisor. We are Trusted Travelers and the
Supervisor will tell you that we are not subject to the same questions." CBPO
MEN assured him that was not the case. Throughout the entire inspection
Mr. Borowski was uncooperative and argumentative. He attempted to take
control of the inspectional process. CBPO QM felt that the demeanor of
Mr. Borowski was not consistent with other travelers who cross the border and
it raised enough suspicion for CBPO to request the keys and preform
trunk check. Upon completion of
the inspection, all were released USC's.

Both CBPO and capo witnessed the inspection.

Port Location

BOROWSKI, MATTHEW

11/03/2014 12:21:54 EST

Source: is

Subject

Last Name:
First Name:
Gender:
Hispanic:
Date of Birth:
Citizenship:

Passenger Document

Document Type:

Issue Country:
Documentation Presented:
Document Number:

Other Document Number:

Crossing Information

Site:

Site Port:

Inbound / Outbound:
Referral Date:
Crossing TECS ID:

Package Information

Source:

Referral Status:
Referral Type:
Package ID:

Site:

Site Port:

Lane Number:
Completion Status:
Closed By:

Referral Information

Referred By Officer:

Last Inspection Officer:
Referred By Application:
Referral Status:

Referral

Referral Reason:

BOROUSKT
MATTHEW
Male (M)
Yes

United States (US/USA)

NEXUS CARD (IN)
United States (US/USA)
Yes

CBP-BUFFALO, PEACE BRIDGE (L094)
BUFFALO-NIAGARA FALLS (8901)
Inbound

11/03/2614 12:21:54 EST

CBP-BUFFALO, PEACE BRIDGE (L694)
BUFFALO-NIAGARA FALLS (8901)

18

Complete

Manual

Misc

Lost Stolen:
Referral item Type:

Vehicle Referral

Referral Date:

Referred By Application:

Referred By Officer:
Recall Referral:
Inbound / Outbound:
Crossing Mode:
Crossing Quantity:
Device Type:
Crossing TECS ID:
GES Program:
Operator:

People Quantity:

Referral Item Type:
Referral Reason:

=
[

11/03/2614 12:21:08 EST

No

Inbound

DCL (D)

8

Workstation (W)

6

Trunk

Referral Vehicle Number:
Stacked Booth Configuration:
Referral Comment:

Vehicle Inspection

a
No
Conveyance Type: AUTO (A)

Referral Reason:
State: ONTARIO (ON)
Inbound / Outbound: Inbound
Inspection Result:
CCD Used:
Currency Amount:

a

6
Inspection Type: A
1
N

Person Quantity:
Update By Legacy: 0

Vehicle Search 1:
Referral Vehicle Number:
License Plate Number:
State:

TECS ID:

Admissibility

Admissibility Workspace ID:

Secondary Officer Name:

Inspection Completed: Inspection Completed
CCD Used:

Create PLOR: m7

Disposition: U.S. Citizen (USC)

Create PLOR: i

Traveler Document Presented: Yes

Western Hemisphere Travel Initiative Compliant: Yes

+94 Waiver Action: N

IOEM: No

Update By Legacy: No

incident ID: a

case 1:23-cv-00257-EAW-MJR  D

TECS ID:
Exam Completion Date: 11/03/2014 06:60:86 EST

Remarks
Completed Comment
Yes

Yes

Baggage

inspection Completion:
inspection Result:
Exam Completion Date:

Referral Officer: Inspection Completed

Referral Reason:

11/63/2014 68:66:66 EST

Inbound / Outbound: IOEM: No
Secondary Officer Name: le
Bag Workspace ID: Bag Exam: Yes
Currency Amount: CCD Used:
Create PLOR: aa
No Exam: No
Other Inspection Type: Admissibility
Personnel Search: No
Passengers on Declaration: @
a Number: a
Update By Legacy: No
Other Inspection Reason: ma
Remarks

Completed Comment

Yes EEE subject and vehicle sent for secondary exam
including routine admissibility and baggage and vehicle exam the exam was met with negative
results.

Port Location

BOROWSKI, MATTHEW 2

11/03/2014 12:52:00 EST

Subject

Last Name:
First Name:
Birth Date:

Hispanic:
Gender:

Citizenship:
Document Type:
Document ID:

Travel Details

Inbound / Outbound:
Location:

Site:

Port Name:

MOT:
Conveyance Type:

License Plate:
License State:
License Year:
License Country:

Incident Details

Incident Type:

TECS ID:
Incident Date:

Report Approved:
Report Approved Date:
Report Completed:
Report Completed Date:
Report Cancelled:

Attachments
# TECS ID

Comments

BOROWSKE
MATTHEW

Yes
Hale (M)

United States (US/USA)
NEXUS CARD (IN)

Inbound

BUFFALO-NIAGARA FALLS
CBP~BUFFALO, PEACE BRIDGE (L694)
BUFFALO-NIAGARA FALLS (6901)

LAND
AUTO (A)

ONTARIO (ON)
14
Canada (CA/CAN)

11/63/2614

Yes
11/84/2614 00:00:60 EST
Yes
11/04/2614 80:00:00 EST
No

Document Type

Primary Officer:
Supervisor:

Document Format

Preview

While lee: the Peace Bridge, I encountered
BOROWSKI, Matthew. He was referred to So fo: a Exam.
While his vehicle was being inspected , BOROWSKIE exited out

of door 2. I asked BOROWSKI if he was finished with his inspection and he
told me that he was not and that he wanted to watch CBPO EE virile he
was inspecting his vehicle. I requested BOROWSKI to return to the building
until his inspection was complete. BOROWSKI stated that he wanted to stay
outside and watch the inspection. I stated to BOROWSKI that he was unable to
watch the inspection of his vehicle and to return into door 2, and he still
did not comply. At this time, I placed my hand on his arm and securely
escorted him into the CBP secure area located in door 2. BOROWSKI became
compliant and proceeded to door 2 without incident. BOROWSKI requested to
speak to a Supervisor. SCBPO MMMM was apprised of the situation and
responded to BOROWSKI‘'s request.SCBPO IMME explained that he is not
released from the inspection until all CBP concerns are satisfied. BOROWSKI

Port Location

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 39 of 79

encoun

BOROWSKI, Matthew. He was referred to ee exan.
While his vehicle was being inspected eo. BOROWSKI exited

out

of door 2. I asked BOROWSKI if he was finished with his inspection and he
told me that he was not and that he wanted to watch CBPO [aa while
he

was inspecting his vehicle. I requested BOROWSKI to return to the
building

until his inspection was complete. BOROWSKI stated that he wanted to stay
outside and watch the inspection. I stated to BOROWSKI that he was unable
to

watch the inspection of his vehicle and to return into door 2, and he
still

did not comply. At this time, I placed my hand on his arm and securely
escorted him into the CBP secure area located in door 2. BOROWSKI became
compliant and proceeded to door 2 without incident. BOROWSKI requested to
speak to a Supervisor. SCBPO HRB was apprised of the situation and
responded to BOROWSKI's request.SCBPO ay explained that he is not
released from the inspection until all CBP concerns are satisfied.
BOROWSKI

was released as a US Citizen.

CBP 036

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 40 of 79

From: ae

Sent: Tuesday, April 22, 2014 5:32 PM
To:
Subject: ( Recor Review (Pass ID's iii 2 =)

| discussed with the

es . Security

Boston Field Office
LES ys and Border Protection

: ) Rorower

From:
Sent: Friday, April 18, 2014 8:26 AM
To:

Subject: RE: NEXUS Ombudsman Review (Pass ID's QIQ3Q0)} eas

On 12/28/11,

Mr. Borowski acknowledged and signed the Nexus briefing of rules and regulations indicating that violations of those
rules may result in possible sanctions or revocation of Nexus membership (scanned into GES). The Nexus rules state in
part, “As a Nexus card holder you will be subject to random inspections to include being sent to a secondary processing
area, while your vehicle and contents are searched by officers.” Mr. Borowski was enrolled in Nexus on 1/3/12. (i

Please acvise iis

Ombudsman, CBP Trusted Traveler Programs

FAST, NEXUS, SEINTRI, Global Entry
CBP 037 |

Boston Field Office - Williston, VT

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 41 of 79

on Bent Tsay 77 oes 17, 2014 2:49 PM
subject FW: NEXUS Ombudsman Review (Pass ID’s ee)

Importance: High

Border Security

Boston Field Office
U.S. Customs and Border Protection

From: as

Sent: Thursday, April 17, 2014 2:24 PM

Tt ae
aaa
(OCC)

Subject: FW: NEXUS Ombudsman Review (Pass ID's i = a= )
Importance: High

a  Picasc contact

me if you have any questions.
Thank you again for your assistance in this matter.

Regards,

a
a Border Security

‘U.S. Customs and Border Protection
Buffalo Field Office

From: ee

Sent: Friday, April 04, 2014 12:24 PM
| o: nee

Cc: ne: 1 7LMEY, ROSE M

a (OCC)
Subject: NEXUS Ombudsman Review (Pass ID‘s a)

Importance: High
cpr 38

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 42 of 79

Please contact me if you have any further questions or concerns.

Kind regards,

Border Security
U.S, Customs and Border Protection
Buffalo Field Office

From:
Sent: Frida ril 04, 2014 10:47 AM

Subject: NEXUS Ombudsman Review (Pass ID’s

As discuss,

Thank you,

Assistant Port Director

Field Operations

U.S. Customs and Border Protection
Port of Buffalo, New York
Telephone Number:
Cell Number:

Fax Number:

3
CBP 039

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 43 of 79

i:

Warning: This document and any attachment(s) may contain restricted, sensitive, and/or law enforcement-sensitive
information belonging to the U.S. Government. It is not for release, review, retransmission, dissemination, or use by

anyone other than the intended recipient. If you received this communication in error, please immediately notify the
sender and delete or destroy this communication and all attachments.

From:
Sent: Wednesday, April 02, 2014 8:05 AM
To:

Subject: Pass ID

APD

04/02/2014
Nexus Enrollment Center
Port of Buffalo, NY

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 44 of 79

Thank You,

Supervisory CBP Officer

Supervisor

Office of Field Operations
Port of Buffalo, NY

Ph. ax

Warning: This document and any attachment(s) may contain restricted, sensitive, and/or law enforcement-
sensitive information belonging to the U.S. Government. It is not for release, review, retransmission,
dissemination, or use by anyone other than the intended recipient. If you received this communication in error,
please immediately notify the sender and delete or destroy this communication and all attachments.

CBP O41

BOROWSKI, MATTHEW K [er

12/14/2013 21:42:00 EST

Subject
Last Name: BOROWSKT
First Name: MATTHEW
Middle Name: K
Birth Date: [
Hispanic: No
Gender: Male (M)
Hair: BROWN (BR)
Eye: BROWN (BR)
Height: 668
Weight: 268
Citizenship: United States (US/USA)
Addresses Travel Details
Street Name: Inbound / Outbound: Outbound
City: Location: BUFFALO-NIAGARA FALLS
State: Site: CBP-BUFFALO, PEACE BRIDGE (L@94)
Zip: Port Name: BUFFALO-NIAGARA FALLS (8981)
try:
ISO Country Canada (CA/CAN) MOT: LAND
Conveyance Type: AUTO (A)

License Plate:

License State: ONTARIO (ON)
License Year: 13
License Country: Canada (CA/CAN)
Incident Details
Incident Type: Primary Officer:
Supervisor:
TECS ID:
Incident Date: 12/14/2813
Report Approved: Yes
Report Approved Date: 12/15/2013 @6:00:00 EST
Report Completed: Yes
Report Completed Date: 64/01/2014 68:60:06 EDT
Report Cancelled: No
Attachments
# TECS ID Document Type Document Format Preview

Comments

On Saturday, December 14, 2013 at approximately 1816 hours while conducting
outbound operations at the Peace Bridge POE in Buffalo, NY an Ontario plated
vehicle (ON/BNYL352) was stopped for an inspection. The driver of the vehicle

later identified as BOROWSKI, Matthew (ee) was immediately
confrontational with the inspecting officer when asked for the registration for
the vehicle. The subject replied “for what, what is your probable cause?" in
which BOROWSKI was instructed by the Officer that probable cause was not
required and the document was requested for verification purposes. BOROWSKI
then stated that "you are not Police Officers and just a Border Guard with very
little authority at best" in which he recited some reference to law & statutes.
The subject was being uncooperative, confrontational and failed to produce his
registration in a timely matter.

the subject was told to pull off the
road into the secondary inspection area.
Upon making contact with the subject at the secondary staging area, BOROWSKI'S

Port Location

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 47 of 79

On Saturday, December 14, 2013 at approximately 1810 hours while conducting outbound
operations at the Peace Bridge POE in Buffalo, NY an Ontario plated vehicle (ON/BNYL352)
was stopped for an inspection. The driver of the vehicle later identified as BOROWSKI,
Matthew ( was immediately confrontational with the inspecting officer when asked
for the registration for the vehicle. The subject replied “for what, what is your probable cause?”
in which BOROWSKI was instructed by the Officer that probable cause was not required and the
document was requested for verification purposes. BOROWSKI then stated that “you are not
Police Officers and just a Border Guard with very little authority at best” in which he recited
some reference to law & statutes. The subject was being uncooperative, confrontational and
failed to produce his registration in a timely matter.
er the subject was told to pull off the road into the
secondary inspection area.
Upon making contact with the subject at the secondary staging area, BOROWSKI’S window was
now rolled almost completely up. He was asked again to produce his registration at which time
the front passenger’s car door opened and a female later identified as

Enforcement Officer CBPO-E EE responded to the Peace Bridge, POE and was advised
of the events. After reviewing the events and officer statements it was determined that the
subject

ee 3 OROWSKL insisted his wife was assaulted
by CBP.

Ps! 8OROWSKI throughout the inspection

was loud, argumentative and provoking, insisting he was a lawyer and attempting to recite his
interpretation of Federal law.

Due to today’s incident, BOROWKI’S prior confrontational encounters, the subjects NEXUS
card was detained and forwarded to the NEXUS enrollment office for review.

BOROWSKI departed the POE at 2057 hours.

Supervisor [iiifiifand Chief CBPO Hiiiiiwere on site for the encounter and concurred with the
retention of the Nexus cards and the [Ea

CBP 044

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 48 of 79

SIDE NOTE: The subject’s three minor children were present during this encounter.
Supervisor’s Notes:

Towards the end of the inspection of Mr. Borowski and his family, Mr. Borowski was asked by
me to talk away from the public. During this talk, which lasted about ten minutes, I simply
asked Mr. Borowski what his objection(s) were to the CBP inspection process. Mr. Borowski
stated he had no objections to our process, but feels some officers get upset when their authori
is questioned.

eee ||
informs the officers that he is lawyer,

aa Mr. Borowski was advised that we have a process to which he is not exempt. Mr.
Borowski was given my name and the phone number to the Nexus enrollment center if he wished
to attempt to recover his retained Nexus Card. Mr. Borowski and his family had full access to
restroom facilities and ENE was offered a private setting for breastfeeding. The other
children were offered snacks by CBP officers.

e repeatedly

Chief CBPO Notes:

en . BOROWSKI’s NEXUS card will continue to be
retained by CBP and will be deferred to the Ombudsman for a determination on current and
future NEXUS enrollment participation.

CBP 045

BOROWSKI, MATTHEW 9

04/18/2013 19:51:00 EDT

Subject

Last Name:
First Name:
Birth Date:

Race:
Hispanic:
Gender:

Citizenship:
Addresses

Street Name:
City:

State:

Zip:

ISO Country:

Travel Details

inbound / Outbound:
Location:

Site:

Port Name:

MOT:
Conveyance Type:

License Plate:
License State:
License Year:
License Country:

Incident Details

Incident Type:

TECS ID:
incident Date:

Report Approved:
Report Approved Date:
Report Completed:
Report Completed Date:
Report Cancelled:

Attachments

BOROWSKI
MATTHEW

White (W)
No
Male (M)

United States (US/USA)

Canada (CA/CAN)

Outbound

BUFFALO-NIAGARA FALLS OUTBOUND INSPECTION

CBP-BUFFALO, PEACE BRIDGE (L694)
BUFFALO-NIAGARA FALLS (8901)

LAND
AUTO (A)

ON
13
Brunei (BN/BRN)

04/18/2613

Yes
64/19/2013 00:06:08 EDT
Yes
64/18/2013 00:00:60 EDT
No

Primary Officer:
Supervisor:

wen GSE 1:23-Cv-0025/7-EA

# TECS ID Document Type Document Format Preview

Comments

On April 18, 2013, an Ontario plated vehicle was encountered in the outbound
lane at the Peace Bridge Port of entry in Buffalo New York. The vehicle
contained BOROWSKI, Matthew Eee, COB/COC: U.S. The subject was asked by
the primary outbound Officer where he was coming from to which Mr. Borowski
answered “Im a United States Citizen." The primary Officer again asked where
are you coming from to which Mr. Borowski then answered "A meeting" The primary
outbound Officer asked Mr. Borowski to open his trunk, Mr. Borowski asked
"Under what authority?" The primary Officer then asked Mr. Borowski to pull
over to the secondary inspection area where he would explain under what
authority CBP could inspect his vehicle. Mr. Borowski began to pull over and
stopped, blocking both lanes of traffic and began yelling out his window that
he wished to withdraw his application for admission.

While turning to
pull over Mr. Borowski then stopped his vehicle, he was asked and then told to
drive to the secondary inspection area. Only after several verbal commands to

Port Location

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 51 of 79

On April 18, 2013, an Ontario plated vehicle was encountered in the outbound lane at the Peace Bridge
Port of entry in Buffalo New York. The vehicle contained BOROWSKI, MatthewE= 4, COB/COC:
U.S. The subject was asked by the primary outbound Officer where he was coming from to which Mr.
Borowski answered “Im a United States Citizen.” The primary Officer again asked where are you coming
from to which Mr. Borowski then answered “A meeting” The primary outbound Officer asked Mr.
Borowski to open his trunk, Mr. Borowski asked “Under what authority?” The primary Officer then
asked Mr. Borowski to pull over to the secondary inspection area where he would explain under what
authority CBP could inspect his vehicle. Mr. Borowski began to pull over and stopped, blocking both
lanes of traffic and began yelling out his window that he wished to withdraw his application for
admission. (Mr. Borowski was outbound so we still don’t know application for admission to what.)
While turning to pull over Mr. Borowski then stopped his vehicle, he was asked and then told to drive to
the secondary inspection area. Only after several verbal commands to pull to the secondary inspection
area did Mr. Borowski comply. When in the secondary inspection area Mr. Borowski continually stated
that he was a U.S. citizen and under what authority did CBP have to inspect his vehicle. Mr. Borowski
was told that CBP had the authority to inspect both inbound and outbound traffic. Mr. Borowski was
asked and then told several times to exit his vehicle so the inspection could be completed. Only after
CBP [gz physically opened the door and guided Mr. Borowski out of the vehicle did he finally
comply. During questioning it was discovered that Mr. Borowski had recently taken the Bar exam and
that he was planning on becoming a lawyer. Mr. Borowski stated that he knew CBP could inspect
inbound vehicles but did not think that they could inspect outbound vehicles. Mr. Borowski continued
to question the authority of CBP for outbound inspections during the entire inspection. Attempts were
made to explain the authority of CBP by several different Officers. A i=aammamimllillexam of the vehicle
yielded negative results. Once the inspection was complete, Mr. Borowskis Nexus card was returned to
him and he was released to travel north to Canada.

Mr. Borowski impeded the inspection by CBP by

Not answering the questions of the primary Officer.

Not obeying the request of the primary Officer to pull over.

Not obeying the Command of the primary Office to pull over.

Not obeying the request of the secondary Officer to exit the vehicle.
Not obeying the secondary Officers command to exit the vehicle.

Aon PF wn bP

Continually questioning the authority of CBP to examine his vehicle.

CBP 048

03/19/2013 13:14:00 EDT
Land Baggage Secondary Inspection a

Subject

Last Name: BOROWSKE

First Name: MATTHEW

Gender: Male (M)

Race: White (WW)

Date of Birth:

Person Quantity: e1

Hispanic: NOT OF HISPANIC OR LATINO ORIGIN (N)
Crossing Information

Site: CBP-BUFFALO, PEACE BRIDGE (L094)
Inbound / Outbound: Inbound

Conveyance Type: AUTO (A)

Port Crossing Date: 63/19/2013 13:14:60 EDT

Incident Number:

Package ID:

TECS ID:

Passenger Document

Document Type: NEXUS CARD (IN)
Issue Country: United States (US/USA)

Document Number:
Other Document Number:
Referral/Vehicle Information

Agency Referral:
Referral Officer:
Referral Reason:
Referral Reason:
Referral Type:

Referred By:

Secondary Officer:

Driver Passenger: Driver
License Plate Number:

License Plate State: ONTARIO (ON)

Miscellaneous Info

Consolidated Consular Database Currency Amount:
Used: IOEM:
Personnel Search:

Search

Personnel Search: N
Vehicle Search 1: K-9 SEARCH I

No
No

Vehicle Search 2:

Remarks

ME <0 ject is usc Living in conada,
during k-9 exam on primary subject became

argumentative, vehicle was referred for secondary inspection
subject was released as usc as per Chief an

Port Location

___Case 1:23-cv-00257-EAW-MJR_D

BOROWSKI, MATTHEW ie

03/19/2013 13:14:59 EDT

coe

Subject

Last Name:
First Name:
Gender:
Race:
Hispanic:
Date of Birth:
Citizenship:

Passenger Document

Document Type:

Issue Country:
Documentation Presented:
Document Number:

Other Document Number:

Crossing Information

Site:

Site Port:

inbound / Outbound:
Referral Date:

Package Information

Source:

Referral Status:
Referral Type:
Package ID:

Site:

Site Port:

Lane Number:
Completion Status:
Closed By:

Referral Information

Referred By Offtcer:

Last Inspection Officer:
Referred By Application:
Referral Status:

Referral Type:

Referral Reason:

Vehicle Referral

BOROWSKT
MATTHEW
Male (HM)
White (W)
No

United States (US/USA)

NEXUS CARD (IN)
United States (US/USA)
Yes

CBP-BUFFALO, PEACE BRIDGE (L094)
BUFFALO-NIAGARA FALLS (6961)
Inbound

03/19/2613 13:14:59 EDT

CBP-BUFFALO, PEACE BRIDGE (L694)
BUFFALO-NIAGARA FALLS (6901)

18

Complete

Manual

Misc

Referral Item Type:

=I

EE NOE

Referral Date: 63/19/2013 13:14:80 EDT
Referred By Application:

Referred By Officer:

Recall Referrai: Yes

inbound / Outbound: Inbound

Crossing Mode: DCL (D)

Crossing Quantity: 8

Device Type: Workstation (W)

GES Program: e

Operator: Trunk

a a 1

Referral item Type:

Referral Reason:

Referral Vehicle Number:
Stacked Booth Configuration:
Referral Comment:

Vehicle Inspection

Conveyance Type: AUTO (A)
Referral Officer:
Referral Reason:
State: ONTARIO (ON)
Inbound / Outbound: Inbound
Inspection Result:
CCD Used:
Currency Amount:
Inspection Type:
Person Quantity:
Update By Legacy:
Vehicle Search 1: -9 SEARCH
Vehicle Search 2:
Referral Vehicle Number:
License Plate Number:
State:

Incident ID:

TECS ID:

Baggage

Referral Officer: Inspection Completion: Inspection Completed
Referral Reason: inspection Result: a

Inbound / Outbound: Inbound Exam Completion Date: 03/19/2613 60:06:66 EDT
Secondary Officer Name: 1OEM: No

Bag Workspace ID:

Currency Amount: Incident ID:
Bag Exam:
CCD Used:
Create PLOR:
No Exam: No
Personnel Search: No
a Number: a
X-Ray: No
Update By Legacy: No

Remarks

_Case 1:23-cv

Completed Comment

Yes subject is usc living in canada, iii uring k-9 exam on
rimary subject became argumentative, vehicle was referred for secondary inspection

subject was released as usc as per chief

ves

Port Location

BOROWSK, MATTHEW i [a

03/19/2013 14:03:00 EDT
Subject
Last Name: BOROWSKI
First Name: MATTHEW
Birth Date:
Race: White (W)
Hispanic: No
Gender: Male (M)
Citizenship: United States (US/USA)
Document Type: NEXUS CARD (IN)
Document ID: 161772824
Addresses Travel Details
Street Name: Inbound / Outbound: Inbound
City: Location: BUFFALO-NIAGARA FALLS
State: Site: CBP-BUFFALO, PEACE BRIDGE (L094)
Zip: Port Name: BUFFALO-NIAGARA FALLS (6901)
ISO Country:
ry MOT: LAND
Conveyance Type: AUTO (A)
License Plate:
License State: ONTARTO (ON)
License Year: 13
License Country: Canada (CA/CAN)

Incident Details

Incident _

TECS ID:

Primary Officer:
Supervisor:

Incident Date: 03/19/2613
Attachments
# TECS ID Document Type Document Format Preview

Comments

__Case 1:23-cv-00257-EAW-MJR_ Document 45_ Filed

Cee sssiglaey/e
On 03/19/2013 a vehicle plated ON/BNYL352 entered NEXUS lane 18. The vehicle
was driven by BOROWSKI, MATTHEW (DOB: /COC:U.S.)

During primary K-9 inspection of
the
vehicle, BOROWSKI became argumentative about the, K-9 exam. BOROWSKI was
referred to secondary to contiune the inspection. When BOROWSKI arrived to
the secondary parking lot, he was meet by officer JM. Officer MEM tried
to instruct BOROWSKI to park when BOROWSKI became even more argumentative and
irate about the inspection and refused to get off his cellphone after being
asked three times. At that time Officer GN adic for assistance. When
additional officers arrived, BOROWSKI became compliant and was asked to exit

the vehicle. BOROWSKI was escorted to the secured secondary area. A K-9 exam
on °/ the vehicle cae me >. SCBPO

was present for the escort and made
CHEF

aware of the incident. BOROWSKI was interviewed by CHIEF

Port Location

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 59 of 79

On 03/19/2013 a vehicle plated ON/BNYL352 entered NEXUS lane 18. The
vehicle

yen by BOROWSKI, MATTHEW (DOB: coc: s.) K-9 officer

SSS aaa During primary K-9 inspection
of the

vehicle, BOROWSKI became argumentative about the K-9 exam. BOROWSKI was
referred to secondary to contiune the inspection. When BOROWSKI arrived
to

the secondary parking lot, he was meet by officer FM officer aaa
tried

to instruct BOROWSKI to park when BOROWSKI became even more argumentative
and

irate about the inspection and refused to get off his cellphone after
being

asked three times. At that time Officer [radioed for assistance.
When

additional officers arrived, BOROWSKI became compliant and was asked to
exit

the vehicle. BOROWSKI was escorted to the secured secondary area. A K-9
exam

and Me inspection of the vehicle yeilded negative results. SCBPO
QAM was present for the escort from the outside SLEEC position and made
CHIEF WME aware of the incident. BOROWSKI was interviewed by CHIEF
GR i secondary. After the interview, BOROWSKI was released as a
returning U.S.C.

Chief Notes: When speaking with Mr. Borowski on 3/19/2013, I reviewed
NEXUS program and NEXUS

lane procedures and violations to include that NEXUS card holders are
subject to inspection.

I explained that committing NEXUS violations, including failing to comply
with any part of the

inspection process, could result in revocation of NEXUS status. During
our discussion Mr.

Borowski was courteous and apologetic, at no time did he make derogatory
comments about the

officers and stated they were professional at all times during his
inspection. At the

conclusion of our conversation, Mr. Borowski thanked me for taking the
time to review the

NEXUS process with him. Prior to Mr. Borowski’s release, I confirmed
with secondary officers

that they had completed the inspection and Mr. Borowski was released as a
US citizen.

CBP 056

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 60 of 79

NEXUS BRIEFING

! Matthew é boteus ki acknowledge that | have been informed of the
rules und regulations of the NEXUS program. and thal 1 will abide by these rules and
regulations or be subject lo possible sanctions, including revocation of my NEXUS
membership, for any violations that | may commil

o

Nexus lane procedures / Hours of operation.

Every accupant in the vehicle must have their Nexus card,

Members must update all changes to their personal info (including address
change, employment change, immigration status change, federal/state/local
arrests, and/or CBP or CBSA violations).

Ifunsure of any rules, contact or stop at the NEXUS enrollment center or use a
regular lane,

Nexus members may use any vehicle, including rental, recreational, and
motorcycles in the Nexus lane, Members must ensure their license plate is Iree
from obstruction and the CBP/CBSA officer or license plate reader von clearly
capture it,

Nexus member is obliged to declare all merchandise including duty free
merchandise, purchased or acquired outside the USA. Nexus members arc to
declare EVERYTHING even if the CBP officer docs not ask specifically during
the primary inspection. Nexus members may not use the Nexus lane when they”
arc over their duty exemption. |

Restricted!prohibited goods such as firearnis, mace, pepper spray, endangered
animals, birds, narcotics, fireworks, firewood, Cuban goods, and plants are not
permitted in the Nexus Jane. (Commercial goods and/or $10,000 or more.)
Restricted/prohibited fruits, vegetables, plants, sceds, meats, and meat products,
are not pennitted in the Nexus lane. :

Asa Nexus card holder you will be subject to random inspections to include
being sent to a secondary processing arca, while your vehicle and contents are
searched by officers.

Advised of penalties and criminal prosecution for program violations / law
violations (example - smuggling narcotics). In the event thal you are approached
to smuggle, call (800) BE ALERT (800)232-5378 and contact NEXUS,

For entry into the United States at asea and/or land border Port of Entry, a
NEXUS card is an approved stand-alone WHT! document.

$25 U.S, fee for lost/stolen replacement card.

The above rules and regulations were explained to the above named person at the
NEXUS Enrollment Center in Fort Erie, ON, CA and the mandatory questions were

CBPO

asked ioe =o on ec 28 2011 by

Signature otaptean“[f Mf LEE f — Date: hes ft.

PASS IDA |

CBP 057

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 61 of 79

Barder Crossings and Inspections {100} aa

Meee DOB

BORDWSO, Mathew vasin
BORCARaE Mannew Karim
SORDAAE, Meheuliterin
BORDNSS, Mathew Rarity
SORQWUSE! Marea Cerin
SORDWVSH, Matthew Gerke
PAGO), Ateihew Ratio

BONS, Marre

BORG, Mathew

BORO RWSel Mattrew LGRSOE TE TUR

NERS, Iatthew

DeEGOE 3S (US)

BOROWSS, Mathew

TAWGH, Alnthen

SOROS A:

TeySB, Macrriey
SORIRMIM, ante
SORIANT, Mathew
BOSE®, Alackhew
SOROuSai, Macinew
SORTING, Morhew

SORQWSS, Aletthew

RONG, Ab erthrey

ORG, Madnew
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SCOR, Mame Bart SETRIBET (LAY

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BORWS, Mathew CSSEObIS (USE

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EOROWSE! Motchew SSCOGIE US}

BOROWGHL, Mamrtw

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OMS (RE? Abas
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ORAL/EO17 09:27

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Vorigke

MARGARITAVILLE AT SEA PARADISE 1 (5204+ 7422}
Veride
Vehicle

CBP 058

Direction
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Inbound
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inbound

letand

tebound

Inbound
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Crostings with mnspections On'y (577

Case 1:23-cv-00257-EAW-MJR Document 45 Filed 07/18/24 Page 62 of 79

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Markee

GS5E0828 YUSy QBS AI1G 25-57 venide febaund
SOROS, Mathew LOSSCC62s 85) ESOT ENE 09.54 Vehicle (rbaund
BORO WES Afamthedk ossecens PUN CSP La DR B45 venicte Whenend
BORCHISH, Mamnew OLSSTEIE £03) OSfLA ZING 20:25 Venice feo
SlROwiel, Matthew LGISCOESE BE G5 /22/ 2516 1539 vebide inbound
SCRE, Menthew CRSSCEIE FE SANS (2916 1L15 ‘vehide irbound
BORAGE, Biscticene SAEGNSZS (U8) GUE 2IN6 09.53
EOROWISEE Memihev OISEGSIE (LUBY LOE EHTS £0.32
EC ROWDY, Mammew GESGOR28 (U57 LOfLOhso1s 1205
SOROWSe, Memtew O7/22200S Lao
BORON: Nace DIEGOSIS 05 O7/ FES abS}

S3S60022 5) GS f22 7215 09.62

BORGHISG, Me:

BORCWUSEE, Af: TESSOS28. (US) CLfIRUS SOF

SCROWSA, Meme LOS /29L4 2257

SOKOWSS, Nathew GaS60S38 €s AI 3549
POETIASEE Khetthons TAPERS PEt?
SRDS, Maithens OE7TIB2S G58} 12FCB FRIES O8SS
BCRGWSH, Mates DS7TIaRs (LS) CA fOS/2083 12.07
BORGES, Marten of hef2913 19S
BCROWSH, Maine 0g /n5f2025 1103
BORGASS, Rsticw osT7a2a put . 12/Ly2D12 aL
SCROWS, Mathew OR772E24 (US) OSfILIZOL2 18.07
SORONSS, M gttew Kathy AGHPSTE (US) 12032004 17.05
SORCHSE, Matthieu Marien LBSITAT3 (US? OPIS IIIS OF 16

CBP 059

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BUNCH Ss ign ieee

BOROWSKI, MATTHEW KARIM[ 1 AGFAEB22-C69C-4EBE-A5A5-9AAOF99AEF70 (982419666)
11/13/2011 08:20:04 EST
Global Enrollment System (GES)

Source: Global Enrollment System (GES)

Program Enrollment Status

AIS Status Port of Entry Effective Date Expiration Date
NEXUS J Revoked [ii BUFFALO, NY (BUF) 12/28/2822 11/81/2022
Comments: CONCUR WITH VETTING RESULTS.

Revoke Comments Description: YOU DO NOT MEET PROGRAM ELIGIBILITY REQUIREMENTS.

Person

Biographic

GOES User ID: AGFAEB22-C69C-4EBE-A5A5 -SAAGF9SAEF7@

PASS ID:

ICS ID:

Last Name: BOROWSKT

First Name: MATTHEW

Middle Name: KARI

Date of Birth:

Birth City: WASHINGTON

Birth Country: United States (US/USA)

State: DISTRICT OF COLUMBIA (DC)

Primary Residence Country: United States (US/USA)

Gender: Male Ji

Height: 74

Email MBOROWSKT@GMATL .COM

Eye: Brown

Language Preference: English

Citizenship

Country Active

United States (US/USA) Y

Canada (CA/CAN) Y

es Travel History

a Biometric Type Biometric Date Country i

a Fingerprint Jj 12/28/2011 Costa Rica i
Fingerprint Jj 12/28/2011 i Mexico i
Fingerprint Jj 12/28/2011 I Poland I

Addresses

Obsolete: Y

Address Type: Mailing address Jj
Effective Date. @5/01/2014
Contact Name: MATTHEW BOROWSKT

case 1 1:23- 3-CV- -00257-EAW-MJR_ Document 45_ Filed 07/18/2
- PUNee Sissy) a ee 7

Addresses: Address Neighborhood Active
——>————— Y
Obsolete: Y

Address Type: Main resident address [ij
Effective Date: 68/01/2012

Addresses: Address Neighborhood Active
[a V
Phones: Phone Type PhoneNumber Extension Phone Format Active
Home phone fl [es North American [i Y
Obsolete: Y

Address Type: Main resident address =
Effective Date: 68/01/2012

Addresses: Address Neighborhood Active
—E——EE—EE———E—— Y
Phones: Phone Type Phone Number Extension Phone Format Active
Cell phone a Co North American a Y
Obsolete: Y

Address Type: Main resident address Jj
Effective Date: 98/01/2612

Addresses: Address Neighborhood Active
ee V
Phones: Phone Type PhoneNumber Extension Phone Format Active
Home phone i} [2 North American J Y
Obsolete: Y

Address Type: Main resident address Jj
Effective Date: 65/01/2012

Addresses: Address Neighborhood Active
ella Y
Phones: Phone Type Phone Number Extension Phone Format Active

Cell phone Jj Lo North American J Y

Address Type: Mailing address
Effective Date: @8/01/2019

Addresses: Address Neighborhood Active
a Y

Address Type: Main resident address J
Effective Date: 66/01/2012

Addresses: Address Neighborhood Active

- RIvSeGscayie

: S
J Se g

Phones: Phone Type Phone Number Extension Phone Format Active
Business phone i [a North American J
Obsolete: Y

Address Type: Mailing address [i
Effective Date: 68/01/2619

Addresses: Address Neighborhood Active
See a ee Y
Obsolete: Y

Address Type: Main resident address J
Effective Date: 66/01/2012

Addresses: Address Neighborhood Active
ee eee Y
Phones: Phone Type Phone Number Extension Phone Format Active
Business phone i [24 North American J Y
Obsolete: Y

Address Type: Mailing address [i
Effective Date: 68/01/2017

Addresses: Address Neighborhood Active
[eee ee Y

Obsolete: Y

Address Type: Main resident address Jj

Effective Date: 66/61/2612

Addresses: Address Neighborhood Active
[ee Y

Phones: Phone Type PhoneNumber Extension Phone Format Active
Home phone i] —ae North American J = Y

Obsolete: Y

Address Type: Second resident address Jj

Effective Date: 65/01/2812

Addresses: Address Neighborhood Active
een Y

Obsolete: Y

Address Type: Second resident address Jj

Effective Date: 88/61/2689

Addresses: Address Neighborhood Active
eS Y

Obsolete: Y
Address Type: Second resident address Jj
Effective Date: 05/01/2005

Addresses: Address Neighborhood Active

[ee eee V

ee SE 1:23-cv-00257-EAW-MJR_ Document 45 _ Filed 07 Lo iee _Pade
. RINelGsces TE i eee eee ce

Obsolete: Y

Address Type: Second resident address Ji
Effective Date: 11/01/2004

Addresses: Address Neighborhood Active
[ee V
Obsolete: Y

Address Type: Main resident address Jj
Effective Date: 05/61/2085

Addresses: Address Neighborhood Active
ee Y

Obsolete: Y

Address Type: Main resident address [i

Effective Date: 11/01/2004

Addresses: Address / Neighborhood Active
oe Y

Obsolete: Y

Address Type: Main resident address J

Effective Date: 12/01/1988

Addresses: Address Neighborhood Active
————E— Y

Phones: Phone Type Phone Number Extension Phone Format Active
Cell phone Ij so North American Jj Y

Employment

Obsolete: Y

Company: SELF_EMPLOYED

Contact Name: OBSOLETE

Start Date: 65/61/2613

Status: Employed

Occupation: ATTORNEY

Self Employed Description: IMMIGRATION ATTORNEY

Addresses: Address Neighborhood Active

ee———— Y

Obsolete: Y

Company: DREXEL UNIVERSITY

ContactName: OBSOLETE

Start Date: 68/81/2609

End Date: 05/81/2812

Status: Student J

Addresses: Address Neighborhood Active

PHILADEPHIA NEW YORK NY UNITED STATES US/USA Y
Obsolete: Y
Company: DREXEL UNIVERSITY

Contact Name: OBSOLETE
Start Date: 08/81/2809

Status:

Addresses:

Obsolete:
Company:

Contact Name:

Start Date:
End Date:
Status:

Addresses:

Company:
Start Date:
Status:
Occupation:

Addresses:

Phones:

Obsolete:
Company:
Start Date:
Status:
Occupation:

Addresses:

Phones:

Obsolete:
Company:
Start Date:
End Date:
Status:
Occupation:

Addresses:

Obsolete:
Company:
Start Date:
Status:
Occupation:

Addresses:

Phones:

Obsolete:

Btls Loe
Student i

Address Neighborhood Active

PHILADEPHIA NEW YORK NY UNITED STATES US/USA Y

Y

DREXEL UNIVERSTTY
OBSOLETE
68/61/2869
65/81/2812
Student ma

Address Neighborhood Active
PHILADEPHIA PENNSYLVANIA PA UNITED STATES US/USA Y

BOROWSKT WITHER TMMIGRATION LAWVERS
18/01/2613

Self Employed fi

LAWYER

Address Neighborhood Active
Y

Phone Type PhoneNumber PhoneExtension Number Phone Format Active

Employer phone Ml [| North American J yY

Y

LAW OFFICES OF MATTHEW BOROWSKT
16/61/2013

Self Employed Jj

Address Neighborhood Active

a ee V
Phone Type PhoneNumber PhoneExtension Number Phone Format Active

Employer phone ij —oe North American J Y

Y

SELF EMPLOYED
08/61/2812
10/81/2013

Self Employed (F)
CONSULTANT

Address Neighborhood Active
[a Y
y

LAW OFFICES OF MATTHEW BOROWSKI
10/61/2613

Self Employed Jj

LAWYER

Address Neighborhood Active

295 MAIN ST 1060 BUFFALO NEW VORK NY 142@3 UNITED STATES US/USA Y

Phone Type Phone Number PhoneExtension Number Phone Format Active

Employer phone J] —s North American Jj Y

Y

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oS UNSTNSH Ges

Company: SELF EMPLOYED

Start Date: 68/01/2012

End Date: 10/61/2813

Status: Self Employed

Occupation: CONSULTANT

Addresses: Address Neighborhood Active
ree

Obsolete: Y

Start Date: 08/61/2889

Status: Student J

Obsolete: Y

Company: CLEMATIS INC

Start Date: 61/61/2685

End Date: 68/01/2689

Status: Self Employed

Occupation: CONSULTANT

Addresses: Address Neighborhood Active
es Y

Person Comments

Last Update Date Comment

64/12/2823 Supervisory Ombudsman: Sustained denial revocation based on the totality of
noncompliance with the inspection process on numerous occasions. Applicant has 6
positive relevant (3 in 2013, 1 in 2614, 1 in 2016, and the latest in 2023) from
inspections where the applicant?s behavior is confrontational and/or his actions
interfere with the inspection process. Applicant was previously revoked for
noncompliance in 2013 and Ombudsman granted discretion in April 2014 and gave
applicant another opportunity for TTP enrollment, but specifically stated to the
Enrollment Center to please warn applicant against future noncompliance during both
outbound or inbound inspections. Applicant_likely should have been revoked for repeat
noncompliance as noted in November 2014 J or May 2016 [MJ Applicant has numerous
crossings and 53 total secondary inspections. Applicant?s April 2023 im details
alone are enough to warrant a sustained denial revocation based on statements of
intended noncompliance the applicant made to the Watch Commander after the secondary
inspection was complete. Port and EC can remind the applicant that those who do not
qualify for Trusted Traveler Program participation are not prohibited from entering
the United States. However, they are not permitted to use a Trusted Traveler
dedicated lane to do so. Does not warrant discretion at this time.

12/21/2822 Subject also advised, if he chooses, to contact the FOIA office with assistance filing
a FOIA request.

Case 1:23-Cv-00257-EAW-MJR_ Document 45 Filed 07/18/24 _ P

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Last Update Date Comment

12/21/2022 Subject came into the Buffalo EC on December 21, 2@22 at approximately 6:3@ p.m. to
inquire about his recent NEXUS renewal denial. Subject provided documentation stating
his application was denied and that he does not meet program eligibility requirements
at this time. Subject was asked about any previous NEXUS revocations. Subject was
also asked about past incidents in/around the border. In response to those questions,
subject stated officers were “abrasive” and that there was one officer in particular
with whom he has had negative interactions (an officer he stated he sued). Subject
stated he spoke to a supervisor about an agriculture violation in 2618. Subject
stated the supervisor told him that agriculture officer "does this to everyone” and
that the subject shouldn't worry about the incident.

Subject was then asked if at any point he may have reacted to any encounter in a way
that could have been handled in a more appropriate manner. Subject said no. Subject
was very quick to point to the mistakes of others while painting himself in a very
positive light, and specifically as the ‘victim' in his latest NEXUS denial. Subject
mentioned he will have to spend much money litigating with CBP in an attempt to get
his NEXUS card privileges re-instated (all because he states he is disliked by a
certain officer and that that officer is out to get him). Subject was

about local WCs and Chiefs with whom he could speak. Subject was advised
that the reconsideration request, which he already filed, is the means of reviewing
unfavorable decisions to program status. After the discussion ended, the subject went
back to the secondary inspection area of the bridge to inquire further.

12/28/2022 Client came to the EC to discuss the reasons for his denial. During the day he called
the office 2 times. The first call the officer advised him to file a request for
reconsideration with the OMBUDSMAN through his trusted traveler account. On the
second call the officer he spoke with was unaware he had phoned earlier and told him
if he came to the EC he might get more information. He arrived at the EC at closing
time and was mildly confrontational. He stated the CBP web site said he should file a
FOIA request at the EC. He stated he was an attorney and was "serving " us (CBP
officers present) with a FOIA request. He was advised that he should know it is

improper to "serve" papers in the manner in which he was attempting. He was also

advised that the EC and CBP do not process the FOIA request and he needs to submit to
the proper place. He was also advised again the proper place to request for

reconsideration is through the OMBUDSMAN. ee
62/26/2819
till meets eligibility criteria.

62/24/2819 Recurrent Vetting. Verify continued eligibility
62/19/2819
05/01/2014 [EM Replacement card issued per SCBPO a

04/25/2814 OMBUDSMAN REVIEWED, REINSTATEMENT REASONS: Discretionary consideration granted for
applicant's reinstatement in Nexus. E£.C. Please warn applicant against future non
compliance during both outbound or inbound inspections.

12/16/2013 Subject's Nexus card was retained and revoked after third encounter with CBP officers
requiring an Subject has been argumentative and consistently fails to comply
with officer's direction. Subject came to the enrollment center to demand his card be
returned. Subject was confrontational and argumentative with the E.C. supervisor and
attempted to cause a disturbance in the waiting area. The revocation of the Nexus card
was discussed with Chief CBPO MM) and he concurred with all actions taken.

61/03/2012 Court documents received showing dismissal of all charges. Scanned into application
and approved per SCBPO.

Case 1:23-cv-00257-EAW-MJR_ Document 45

Last Update Date Comment

12/28/2011 Applicant interviewed by CBPO a on Dec 28, 2611, all z mandatory questions
asked, documents verified for authenticity and information in GES was verified and
correct. Applicant admitted to being arrested in Virginia in 2008 for assault. He
claims the charges were dropped and record expunged. Although record checks revealed
no derogatory information, his admission requires him to provide court documents
detailing the disposition of the case. Applicant provided with fax info sheet. ON
HOLD.

Documents

Obsolete: N Obsolete: N

Last Name: BOROWSKE Last Name: BOROWSKT

First Name: MATTHEW First Name: MATTHEW

Middle Name: KARIM Middle Name: KARIM

Date of Birth: Date of Birth:

Document Type: Driver's License Residency Country: United States

(US/USA)

Document Number: Document Type: Passport

Expiration Date: 11/01/2025 Document Number:

Country: Canada (CA/CAN) Expiration Date: 62/15/2823

State: ONTARIO (ON) Country: United States

(US/USA)
a

Admissibility: N

Citizenship: N Admissibility: Y

Residency: N Citizenship: Y

Commercial Driver's License Verify: N Residency: N

Document Hazmat: N Commercial Driver's License Verify: N

Enhanced Driver's License: N Document Hazmat: N

Enhanced Driver's License: N
Machine Readable Zone: N
ESTA: N

Obsolete: N Obsolete: N

Last Name: BOROWSKI Last Name: BOROWSKI

First Name: MATTHEW First Name: MATTHEW

Middie Name: KARIM Middle Name: KARIM

Date of Birth: Eo Date of Birth: So

Document Type: Driver's License Residency Country: United States

(US/USA)

Document Number: Document Type: Passport

Expiration Date: 11/61/2026 Document Number:

Country: Canada (CA/CAN) issue Date: 16/27/2822

State: ONTARIO (ON) Expiration Date: 18/26/2832

Country: United States
a Ws is)

— a

Admissibility: Y

Citizenship: Y

Residency: N

Obsolete: N Obsolete: Y

Last Name: BOROWSKI Last Name: BOROWSKI

First Name: MATTHEW KARIM First Name: MATTHEW

Date of Birth: Middle Name: K

Residency Country: Canada (CA/CAN) Date of Birth:

Document Type: Passport Document Type: Passport

Document Number: Document Number:

Issue Date: 63/13/2618 Issue Date: 62/16/2013

Expiration Date: 63/13/2028 Expiration Date: @2/15/2823

Country:

Admissibility:
Citizenship:
Residency:

Commercial Driver's License Verify:

Document Hazmat:
Enhanced Driver's License:
Machine Readable Zone:
ESTA:

Obsolete:

Last Name:

First Name:

Date of Birth:
Residency Country:
Document Type:
Document Number:
Issue Date:
Expiration Date:

Admissibility:
Citizenship:
Residency:

Commercial Driver's License Verify:

Document Hazmat:
Enhanced Driver's License:
Machine Readable Zone:
ESTA:

Obsolete:
Last Name:
First Name:

Residency Country:
Document Type:
Document Number:
issue Date:
Expiration Date:
Country:

Issuing Authority:

Admissibility:
Citizenship:
Residency:

Commercial Driver's License Verify:

Document Hazmat:
Enhanced Driver's License:
Machine Readable Zone:
ESTA:

Enrollment Status

N-MVLJIR ; ce -iled_O Ch

Ee Soe ee

Canada (CA/CAN) Country:
ee

N

Y Admissibility:

N Citizenship:

N Residency:

N Commercial Driver's License Verify:

N Document Hazmat:

N Enhanced Driver's License:

N Machine Readable Zone:
ESTA:

Y Obsolete:

BOROWSKT Last Name:

MATTHEW KARIM First Name:
Date of Birth:

Canada (CA/CAN) Document Type:

Other Document
Document Number:

65/16/2018 Issue Date:

06/25/2015 Expiration Date:
Country:

N State:

N

N

N Admissibility:

N Citizenship:

N Residency:

N Commercial Driver's License Verify:

N Document Hazmat:
Enhanced Driver's License:
Machine Readable Zone:
ESTA:

Y

BOROWSKI

MATTHEW

11/61/1983

United States (US/USA)

Passport

65/82/2083

05/61/2813

United States (US/USA)
WASHINGTON PASSPORT AGENCY

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Program Enrollment Status

AIS: nexus

United States
(US/USA)

Sat eee eee

Y
BOROWSKT
MATTHEW

Driver's License

10/24/2008
11/81/2616
United States
(US/USA)
VIRGINIA (VA)

N
N
N
N
N
N
N
N

Status: Revoked

Port of Entry: BUFFALO, NY (BUF)

Effective Date: 12/20/2822

Expiration Date: 11/81/2822

Comments: CONCUR WITH VETTING RESULTS.

Revoke Comments Description: YOU DO NOT MEET PROGRAM ELIGIBILITY REQUIREMENTS.

Program Enrollment Status History

AIS: NEXUS.

Effective Date: 12/28/2022

Expiration Date: 11/61/2622

Status: Revoked

Port of Entry: BUFFALO, NY (BUF)

Comments: CONCUR WITH VETTING RESULTS.

Revoke Comments Description: YOU DO NOT MEET PROGRAM ELIGIBILITY REQUIREMENTS.
AIS: NEXUS

Effective Date: @9/17/2817
Expiration Date: 11/81/2622

Status: Approved
Portof Entry: BUFFALO, NY (BUF)
Als: NEXUS

Effective Date: 04/24/2014

Expiration Date: 11/01/2017

Status: Approved Jj

Port of Entry: BUFFALO, NY (BUF)
Comments: RESET TO APPROVE PER VC

Als: NEXUS J
Effective 12/16/2013
Date:

Expiration 11/81/2617
Date:

Status: Revoked

Port of Entry: BUFFALO, NY (BUF)

Comments: SUBJECT HAS THREE SEPARATE FILE FOR BEING NON-COMPLIANT DURING THE INSPECTION
PROCESS. SUBJECT MET WITH CHIEF CBPO AFTER THE SECOND INSPECTION
CONFRONTATIONAL WITH OFFICERS AT EVERY TURN. ON 12/16/13 SUBJECT CAME TO THE FT.ERIE E.C.
AND BECAME ARGUMENTATIVE WITH THE SCBPO DEMANDING A WRIT OF MANDAMUS AND FIRST AMENDMENT
PROTECTIONS. SUBJECT WAS ADVISED HIS NEXUS PRIVILEGES HAVE BEEN REVOKED AND HE WAS
PROVIDED WITH CONTACT INFORMATION FOR THE OMBUDSMAN PER CHIEF

Revoke YOU DO NOT MEET THE MINIMUM MEMBERSHIP ELIGIBILITY REQUIREMENTS.

Comments

Description:

Als: Nexus

Effective Date: 61/83/2012
Expiration Date: 11/61/2017

Status: Approved

Port of Entry: BUFFALO, NY (BUF)

CTTP
Consolidated Trusted Traveler Program (CTTP) Cards

CTTP Card: 103560628

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Cox

Card Status-Request:
Tag ID:

Micro Text:

Back Name:

Issue RFID Number:
Security Code:
Version Number:
Issue Country:

CTTP Card: 103560628

Card Status-Request:
Tag ID:

Micro Text:

Back Name:

Issue RFID Number:
Security Code:
Version Number:
Issue Country:

CTTP Card: 101772824

Z oe 7
A A

AIS Name:
Expiration Date:
Issue Date:

First Name:

Middle Name:

Last Name:
Citizenship Country:
Gender:

Birth Date:

Activated

MATTHEW KARIM BOROWSKI 61 NOV 1983 9

983
Ce1
United States (US/USA)

AiS Name:
Expiration Date:
Issue Date:

First Name:

Middle Name:

Last Name:
Citizenship Country:
Gender:

Birth Date:

Terminated

MATTHEW KARIM BOROWSKI ape 9

687
Be2
United States (US/USA)

NEXUS

11/01/2022

09/17/2617

MATTHEW KARIM

KARIM

BOROWSKI

United States (US/USA)
Male (M)

NEXUS
11/61/2817

05/81/2614

MATTHEW KARIM

KARIM

BOROWSKI

United States (US/USA)
Male (M)

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AIS Name: NEXUS

Expiration Date: 11/81/2017

issue Date: 61/03/2012

First Name: MATTHEW KARIM

Middle Name: KARIM

Last Name: BOROWSKI

Citizenship Country: United States (US/USA)
Gender: Male (M)

Birth Date:

ee

Card Status-Request: Terminated
Tag ID:
Micro Text: HATTHEW KARIM BOROWSKI 9
Back Name:
issue RFID Number:
Security Code: 161
Version Number: Be1
issue Country: United States (US/USA)
Application
Application Requests
Application GOES : 119089928
Request Source: GOES
Application Source Number: 119889928
AIS: NEXUS
AIS Request: Reapplication
Request Date: 04/12/2623
Enrollment Port of Entry: WILLISTON, VT
Balance Due: N
US Vetting Status: U
Canadian Vetting Status: U
Full Enrollment Period: N
Vetting Priority: NORMAL
VCM Approved: FALSE
APEC Requested: FALSE
Eligible for Approval: FALSE
Virtual Renewal: FALSE
Last Request Status
Effective Date: 04/12/2023
Status: Pending Risk Assessment Review i
All Application Status
Effective Date: 04/12/2823
Status: Pending Risk Assessment Review Jj
Effective Date: 84/12/2623
Status: New

Application Form

# Question Yes/No Answer Answer Date

1. Have you ever received a waiver of N 64/12/2023
inadmissibility to the U.S. from a U.S.
government agency?

2. Have you ever been approved by Citizenship and  N 04/12/2623
Immigration Canada for rehabilitation because of
past criminal activity?

3. Have you ever been found in violation of customs N 04/12/2823
or immigration laws or other federal import
laws?

4. ° Have you ever been convicted of an offense in Y MANY YEARS AGO I HAVE BEEN 04/12/2023
any country for which you have not received a CONVICTED OF TRAFFIC
pardon? = OFFENSES BUT NOTHING

INVOLVING MORE THAN A
SIMPLE FINE AND POINTS ON
MY LICENSE. I HAVE HAD A
CLEAN DRIVING RECORD FOR
MANY YEARS WITH NO
CONVICTIONS FOR ANY TRAFFIC
VIOLATIONS FOR OVER A

DECADE.
Application GOES : 114355772
Request Source: GOES
Application Source Number: 114355772
AIs: NEXUS
AIS Request: Renewal
Request Date: 85/26/2622
Enrollment Port of Entry: WILLISTON, VT J
Balance Due: N
US Vetting Status: U
Canadian Vetting Status: U
Full Enrollment Period: N
Vetting Priority: NORMAL
VCM Approved: FALSE
APEC Requested: FALSE
Eligible for Approval: TRUE
Virtual Renewal: FALSE
Risk Assessment: # Country Assessment Date Assessment
1. United States (US/USA) 12/28/2622 FAIL
2. Canada (CA/CAN) 07/26/2622 PASS
Last Request Status
Effective Date: 12/28/2822
Status: Denied Jj
Change Reason: Change
# Comments Reason Active
1. YOU DO NOT MEET PROGRAM ELIGIBILITY Other BY
REQUIREMENTS.
All Application Status
Effective Date: 12/28/2022

Status: Denied i

ee eee

Change Reason: Change
# Comments Reason Active
1. YOU DO NOT MEET PROGRAM ELIGIBILITY Other MY

REQUIREMENTS.

Effective Date: 05/26/2622

Status: Pending Risk Assessment Review [ij

Effective Date: 05/26/2622

Status: New [i

Application Form
# Question Yes/No Answer Answer Date
Have you ever received a waiver of N 65/26/2022

inadmissibility to the U.S. from a U.S.
government agency?

2. Have you ever been approved by Citizenship and N 05/26/2822
Immigration Canada for rehabilitation because of
past criminal activity? Jj

3. Have you ever been found in violation of customs N 05/26/2022
or immigration laws or other federal import
laws?

4. Have you ever been convicted of an offense in Y I REMEMBER GETTING A FEW 05/26/2822
any country for which you have not received a TRAFFIC TICKETS WHEN I WAS
pardon? [i YOUNGER BUT I HAVE NEVER

BEEN CONVICTED OF ANY
CRIMES. I AM NOT SURE IF
YOU CARE ABOUT TRAFFIC
TICKETS. I HAVE ALSO HAD
SOME PARKING TICKETS.

Application GEC : 3100818

Request Source: GEC

Application Source Number: 3180818

AIs: NEXUS

AIS Request: Renewal

Request Date: 68/25/2617

Enrollment Port of Entry: BUFFALO, NY (BUF)

Balance Due: N

US Vetting Status: U

Canadian Vetting Status: U

Full Enroliment Period: N

Vetting Priority: NORMAL

VCM Approved: TRUE

APEC Requested: FALSE

Eligible for Approval: TRUE

Virtual Renewal: FALSE

Risk Assessment: # Country Assessment Date Assessment
1. United States (US/USA) 69/17/2017 PASS
2. Canada (CA/CAN) 8/25/2017 PASS

Last Request Status
Effective Date: 69/17/2617
Status: Approved Jj

All Application Status

Effective Date: 69/17/2017

Status: Approved ig

Effective Date: 08/25/2017

Status: Pending Risk Assessment Review EE
Application Form

# Question . Yes/No Answer

1. Have you ever received a waiver of N

inadmissibility to the U.S. from a U.S.
government agency?

2. Have you ever been approved by Citizenship and  N
Immigration Canada for rehabilitation because of
past criminal activity?

3. Have you ever been found in violation of customs N
or immigration laws or other federal import
laws?

4. Have you ever been convicted of an offense in N
any country for which you have not received a
pardon?

Application GES : 14764394

Request Source: GES

Application Source Number: 14764394

Als: Nexus

AIS Request: Card Replacement J

Request Date: 85/61/2614

Enrollment Port of Entry: BUFFALO, NY (BUF)

Balance Due: N

US Vetting Status: Pass

Canadian Vetting Status: Pass

Reconciled: Y

Replace Reason Code: NEW CARD

Full Enrollment Period: N

Vetting Priority: NORMAL

VWP: U

VCM Approved: FALSE

APEC Requested: FALSE

Eligible for Approval: FALSE

Virtual Renewal: FALSE

Last Request Status
Effective Date: 05/01/2814
Status: Approved J
All Application Status

Effective Date: 05/61/2014

Status: Approved

Effective Date: 05/01/2014

Status: Conditionally Approved ij

Effective Date: 05/81/2014

Status: Pending Decision Jj

Effective Date: @5/81/2014

Status: New I

Answer Date

08/25/2817

08/25/2817

68/25/2617

68/25/2017

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Effective Date: 65/01/2014
Status: Draft i
Application GOES : 901812
Request Source: GOES
Application Source Number: 991812
Als: NEXUS
AIS Request: Initial Enrollment J
Request Date: 11/13/2811
Enrollment Port of Entry: BUFFALO, NY (BUF)
Balance Due: N
US Vetting Status: Pass
Canadian Vetting Status: Pass
Reconciled: Y
Full Enrollment Period: N
Vetting Priority: NORMAL
VWP: U
VCM Approved: FALSE
APEC Requested: FALSE
Eligible for Approval: FALSE
Virtual Renewal: FALSE
Risk Assessment: # Country Assessment Date Assessment
1. United States (US/USA) 12/23/2611
Last Request Status
Effective Date: 61/03/2812
Status: Approved Jj
All Application Status
Effective Date: 61/03/2012
Status: Approved Ij
Effective Date: 12/23/2011
Status: Conditionally Approved Jj
Effective Date: 11/13/2011
Status: Pending Decision Jj
Effective Date: 11/13/2611
Status: New
Application Form
# Question Yes/No Answer
1. Have you ever received a waiver of N

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inadmissibility to the U.S. from a U.S.
government agency?

2. Have you ever been found in violation of customs N
laws? 9

3. Have you ever been found in violation of N
immigration laws? Jj

4. Have you ever been approved by Citizenship and  N

Immigration Canada for rehabilitation because of
past criminal activity? Jj

Answer Date

11/13/2611

11/13/2611

11/13/2011

11/13/2611

# Question Yes/No Answer Answer Date

5. Have you ever been found in violation of customs N 11/13/2611
or immigration laws or other federal import
laws?

6. Have you ever been convicted of a criminal N 11/13/2611
offense in the United States or any other
country?

7. Have you ever been convicted of an offense in N 11/13/2611
any country for which you have not received a
pardon?

Port Location

eS Size

